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                                AFFIDAVIT

I, William B. Rose, being duly sworn, declare and state as

follows:

                       I.   PURPOSE OF AFFIDAVIT

     1.    This affidavit is made in support of a criminal

complaint and arrest warrant against ERIC WAYNE FORREST, aka

"Wicked" ("FORREST"), for a violation of Title 18, United States

Code, Section 922(g) (1): Felon in Possession of a Firearm and

Ammunition.

     2.    This affidavit is also made in support of an

application for a warrant to search the following two digital

devices, in the custody of the Federal Bureau of Investigation,

in Ventura, California (collectively, the "SUBJECT DEVICES"), as

described more fully in Attachment A:

           a.   Black Samsung cellular telephone ("SUBJECT DEVICE

l"); and

           b.   Black Motorola cellular telephone ("SUBJECT

DEVICE 2").

     3.    The requested search warrant seeks authorization to

seize evidence, fruits, or instrumentalities of violations of

Title 18, United States Code, Section 922(g) (1)       (Felon in

Possession of a Firearm and Ammunition)       (the "Subject Offense"),

as described more fully in Attachment B.        Attachments A and B

are incorporated herein by reference.

     4.    The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and
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witnesses.     This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint arrest

warrant, and search warrant, and does not purport to set forth

all of my knowledge of or investigation into this matter.

Unless specifically indicated otherwise, all conversations and

statements described in this affidavit are related in substance

and in part only.

                       II. BACKGROUND OF AFFIANT

     5.      I am a Special Agent ("SA") with the Federal Bureau of

Investigation ("FBI"), and have been so employed for

approximately 19 years.     I am currently assigned to investigate

criminal street gangs in the Central District of California.

During my tenure as an SA, I have investigated criminal street

gangs, convicted felon gang members who possess firearms, and

the distribution of illegal drugs such as methamphetamine by

gang members.     I graduated from a 16-week course in Quantico,

Virginia at the FBI Academy, where I received training in

federal firearms and drug laws, evidence collection, and various

surveillance and investigative techniques.        I have completed

additional training on organized crime and money laundering

conducted by organized criminal groups.

                    III. SUMMARY OF PROBABLE CAUSE

     6.      On April 18, 2019, Ventura Police Department ("VPD")

detectives saw FORREST, whom they recognized as a gang member

with an outstanding warrant for violating the terms of his

probation, walking on a public promenade.        When the VPD

detectives approached FORREST, he dropped the black backpack he



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was carrying and ran.     After a foot pursuit and a physical

altercation, FORREST was arrested.         During a search of FORREST's

backpack," VPD officers found a J.C. Higgins Model 583.16 sawed-

off 12-gauge shotgun, ten shotgun rounds, and the SUBJECT

DEVICES.

                   IV. STATEMENT OF PROBABLE CAUSE

     7.    Based on my review of law enforcement reports,

including VPD reports, conversations with other law enforcement

agents, my review of body worn camera recordings, and my own

knowledge of the investigation, I am aware of the following:

     A.    Officers Recognized FORREST and Determined He Had An
           Outstanding Warrant

     8.    On or about April 18, 2019, at approximately 3:15

P.M., VPD Gang Detective Corporal Michael Acquarelli and

Detective Art Gonzales were driving near the promenade in

Ventura, California, when Detective Gonzales recognized two

pedestrians as FORREST and his girlfriend Ashley Barreto.          The

detectives knew FORREST to be a documented gang member.

Detective Aquarelli had worked on a case involving FORREST a few

days earlier, and through that case learned that FORREST was on

post-release community supervision and subject to search terms.

The detectives consulted a law enforcement database and learned

there were active arrest warrants for both FORREST and Barreto.

The database also confirmed that FORREST was on post-release

community supervision.

     9.    The detectives parked and got out of their car.

Wearing clothing identifying themselves as police, they began to




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follow FORREST and Barreto as they walked on the promenade.

FORREST was carrying a black backpack over his right shoulder.

Not long after, FORREST looked back, saw Detective Gonzales,

dropped the black backpack he was carrying, and fled on foot

eastbound on the promenade.

        10.     Detective Gonzales arrested Barreto and stayed with

the black backpack dropped by FORREST.

        11.     Detective Acquarelli followed FORREST on foot,

identified himself as a police officer, and ordered FORREST to

stop.        FORREST continued to flee to the Crown Plaza Hotel, which

is located at 450 E. Harbor Boulevard, in Ventura.

        12.    Detective Acquarelli caught up to FORREST when FORREST

reached the doors to the Crown Plaza Hotel.         Detective

Acquarelli attempted to pull FORREST down to the ground.

FORREST resisted and Detective Acquarelli and FORREST fell to

the ground.         After a brief struggle, with the assistance of

another officer who had responded to a call for back-up,

Detective Acquarelli placed handcuffs on FORREST.

        B.     Officers Found a Shotgun in FORREST's Backpack

        13.    VPD Officer Miguel Martinez, who had also responded to

the call for back-up, searched FORREST's black backpack.

Officer Martinez found the following items:

               a.     An unloaded J.C. Higgins Model 583.16 12-gauge

shotgun with the butt sawed off;

               b.     Eight Winchester shotgun buckshot rounds;

               c.     One Cheddite shotgun buckshot round;

               d.     One Winchester shotgun slug round;



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            e.   Lock-picking kit;

            f.   Seven vehicle ignition keys;

            g.   Gloves;

            h.   A black folding 3.5 inch knife;

            i.   One black Samsung cellphone (SUBJECT DEVICE 1);

and

            j.   One black Motorola cellphone (SUBJECT DEVICE 2).

      C.    Officers Interviewed Ashley Barreto

      14.   FORREST refused to be interviewed.

      15.   On June 20, 2019, I reviewed the video of Ashley

Barreto's Mirandized interview at VPD on April 18, 2019,

following her arrest.      The interview was conducted by Detectives

Gonzales and Lopez, and I learned the following:

            a.   Barreto advised she had dated FORREST for

approximately one year.

            b.   Barreto identified the backpack being carried by

FORREST as belonging to FORREST.

            c.   Barreto denied she had any property in FORREST's

backpack.

            d.   Barreto claimed she did not know FORREST had a

shotgun in the backpack he was carrying.

            e.   Barreto admitted she heard Detective Gonzales

yell "stop" before she was arrested.

      D.    FORREST's Criminal History

      16.   On June 17, 2019, I reviewed certified conviction

documents for FORREST.      I learned that FORREST has previously




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been convicted of the following felony crimes punishable by a

term of imprisonment exceeding one year:

           a.   On or about December 4, 2012, a violation of

California Vehicle Code Section 2800.2(a)       (Evade Peace Officer)

and California Vehicle Code Section 1085l(a)        (Take Vehicle

Without Owner's Consent), in the Superior Court for the State of

California, County of Ventura, case number 2012012382;

           b.   On or about July 26, 2016, a violation of

California Penal Code Section 4573.8       (Possession of Alcohol in

Jail), in the Superior Court for the State of California, County

of Ventura, case number 2015029703; and

           c.   On or about July 26, 2016, a violation of

California Penal Code Section 242      (Battery), in the Superior

Court of the State of California, County of Ventura, case number

2016008148.

     E.    Interstate Nexus

     17.   On June 23, 2019, ATF Interstate Nexus Expert Bryan

Traverso examined photographs of the J.C. Higgins Model 583.16

sawed-off 12-gauge shotgun recovered from FORREST's backpack and

confirmed that the shotgun was manufactured in Connecticut,

outside of the State of California.        Because the shotgun was

found in California, I believe that it has traveled in and

affected interstate commerce.

     18.   On June 23, 2019, ATF Interstate Nexus Expert Bryan

Traverso examined photographs of the Winchester shotgun rounds

and confirmed that the shotgun rounds were manufactured in

Illinois, outside of the State of California.        ATF Interstate



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Expert Bryan Traverso also examined photographs of the Cheddite

shotgun round and confirmed that it was made in France, outside

the State of California.      Because the shotgun rounds were found

in California, I believe that they had traveled in and affected

interstate commerce.

           V.    TRAINING AND EXPERIENCE ON FIREARMS OFFENSES

     19.    From my training, personal experience, and the

collective experiences related to me by other law enforcement

officers who conduct who conduct firearms investigations, I am

aware of the following:

            a.     Persons who possess, purchase, or sell firearms

generally maintain records of their firearm transactions as

items of value and usually keep them in their residence, or in

places that are readily accessible, and under their physical

control, such in their digital devices.       It has been my

experience that prohibited individuals who own firearms

illegally will keep the contact information of the individual

who is supplying firearms to prohibited individuals or other

individuals involved in criminal activities for future purchases

or referrals.      Such information is also kept on digital devices.

            b.     Many people also keep mementos of their firearms,

including digital photographs or recordings of themselves

possessing or using firearms on their digital devices.          These

photographs and recordings are often shared via social media,

text messages, and over text messaging applications.

            c.     Those who illegally possess firearms often sell

their firearms and purchase firearms.       Correspondence between



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persons buying and selling firearms often occurs over phone

calls, e-mail, text message, and social media message to and

from smartphones, laptops, or other digital devices.          This

includes sending photos of the firearm between the seller and

the buyer, as well as negotiation of price.        In my experience,

individuals who engage in street sales of firearms frequently

use phone calls, e-mail, and text messages to communicate with

each other regarding firearms that the sell or offer for sale.

In addition, it is common for individuals engaging in the

unlawful sale of firearms to have photographs of firearms they

or other individuals working with them possess on their cellular

phones and other digital devices as they frequently send these

photos to each other to boast of their firearms possession

and/or to facilitate sales or transfers of firearms.

           d.   Individuals engaged in the illegal purchase or

sale of firearms and other contraband often use multiple digital

devices.

           VI. TRAINING AND EXPERIENCE ON DIGITAL DEVICES

     20.   As used herein, the term "digital device;' includes the

SUBJECT DEVICES.

     21.   Based on my training, experience, and information from

those involved in the forensic examination of digital devices,          I

know that the following electronic evidence, inter alia, is

often retrievable from digital devices:

           a.   Forensic methods may uncover electronic files or

remnants of such files months or even years after the files have

been downloaded, deleted, or viewed via the Internet.          Normally,



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when a person deletes a file on a computer, the data contained

in the file does not disappear; rather, the data remain on the

hard drive until overwritten by new data, which may only occur

after a long period of time.       Similarly, files viewed on the

Internet are often automatically downloaded into a temporary

directory or cache that are only overwritten as they are

replaced with more recently downloaded or viewed content and may

also be recoverable months or years later.

            b.    Digital devices often contain electronic evidence

related to a crime, the device's user, or the existence of

evidence in other locations, such as, how the device has been

used, what it has been used for, who has used it, and who has

been responsible for creating or maintaining records, documents,

programs, applications, and materials on the device.           That

evidence is often stored in logs and other artifacts that are

not kept in places where the user stores files,         and in places

where the user may be unaware of them.         For example, recoverable

data can include evidence of deleted or edited files; recently

used tasks and processes; online nicknames and passwords in the

form of configuration data stored by browser, e-mail, and chat

programs; attachment of other devices; times the device was in

use; and file creation dates and sequence.

            c.   The absence of data on a digital device may be

evidence of how the device was used, what it was used for, and

who used it.     For example, showing the absence of certain

software on a device may be necessary to rebut a claim that the

device was being controlled remotely by such software.



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            d.    Digital device users can also attempt to conceal

data by using encryption, steganography, or by using misleading

filenames and extensions.       Digital devices may also contain

"booby traps" that destroy or alter data if certain procedures

are not scrupulously followed.       Law enforcement continuously

develops and acquires new methods of decryption, even for

devices or data that cannot currently be decrypted.

      22.   Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that it is not always possible to search devices for data

during a search of the premises for a number of reasons,

including the following:

            a.   Digital data are particularly vulnerable to

inadvertent or intentional modification or destruction.           Thus,

often a controlled environment with specially trained personnel

may be necessary to maintain the integrity of and to conduct a

complete and accurate analysis of data on digital devices, which

may take substantial time, particularly as to the categories of

electronic evidence referenced above.

            b.   Digital devices capable of storing multiple

gigabytes are now commonplace.       As an example of the amount of

data this equates to, one gigabyte can store close to 19,000

average file size (300kb) Word documents, or 614 photos with an

average size of 1.5MB.

      23.   Other than what has been described herein, to my

knowledge, the United States has not attempted to obtain this

data by other means.



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